Case 2:21-cv-16866-EP-ESK Document 73 Filed 09/29/22 Page 1 of 2 PageID: 1872



                                                                      ORDER
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                                                 September 28, 2022


VIA ECF

Honorable Edward S. Kiel, U.S.M.J.
United States District Court for the District of New Jersey
Martin Luther King Building & U.S. Courthouse
50 Walnut Street
Newark, NJ 07102

Re:       Pearson Education, Inc. v. Chegg, Inc.
          Civil Action No. 2:21-cv-16866-SDW-ESK

Dear Judge Kiel:

        This firm represents Plaintiff in the above referenced action. I write jointly on behalf of
Plaintiff and Defendant, with the consent of Defendant’s counsel, to respectfully request an
extension until October 21, 2022 for the parties to file a Local Rule 5.3 consolidated motion on
Defendant’s request to seal and file redated versions of portions of one of the exhibits to the
parties joint discovery dispute letter dated September 15, 2022 [Dkt. No. 68-4].

      If this extension is acceptable to the Court, the parties respectfully request that the Court
“So Order” this letter.




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Case 2:21-cv-16866-EP-ESK Document 73 Filed 09/29/22 Page 2 of 2 PageID: 1873




Hon. Edward S. Kiel, U.S.M.J.
September 27, 2022
Page 2

        Thank you for your consideration of this matter.

                                                    Respectfully submitted,


                                                    /s/ Karen A. Confoy
                                                    Karen A. Confoy


So Ordered, this 29th day of          September     , 2022

      /s/ Edward S. Kiel
Hon. Edward S. Kiel, U.S.M.J.

cc:     Counsel of Record (via ECF)




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